                  Case 4:10-cr-00108-LGW-CLR Document 191 Filed 10/22/15 Page 1 of 1
                                                                 to 18U S C ! 3582(c)(2)
                                                  ReductionPursuant
AO 247 (Rev. ll/11) OrderRegadingMotionfor Sentence                                                  PageI ol      for PublicDisclosure)



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                                                                 for the
                                                     SouthemDistrictof Georgia
                                                                                                20!5
                                                                                                   0cT
                                                        Savannah Division
                                                                                               CLTNK
                  UnitedStatesof America
                                                                                                  5
                               v.
                                                                        CaseNo: 4:1-0_CR00108-2
                    MarionMauriceFields
                                                                       USMNo: 17011-021
Date of Original Judgment:        Ianrary19,2012
Date of PreviousAmended Judgment:                                       DeniseMarshelle
                                                                                      Cooper
(JseDateof LastAmended     ifAny)
                     Judgment                                           Defewlant's Artorney


                               MOTIONFORSENTENCE
                  ORDERREGARDING                      REDUCTION
                                 TO 18U.S.C.$ 3s82(c)(2)
                          PURSUANT
       Uponmotionof ! the defendant E the Directorofthe BureauofPrisons E the couftunder18U.S.C.
$ 3582(c)(2)for a reductionin the telm of imprisonment imposedbasedon a guidelinesentencing  rangethathas
iubsequently beenloweredand    made  retroactiveby theUnited       Sentencing
                                                              States          Commission  pursuant to 28 U.S.C'
$ 99a(u),andhavingconsidered    suchmotion,andtaking    into       the
                                                             account   poligystatementsetforth at USSG  $1B1.10
andthe sentencing  factorssetfodh in 18U.S.C.$ 3553(a),to the extentthat they areapplicable,

IT IS ORDERID thatthemotionis:
                                                                                  /asrellected
                                                                    of imprisonment
                                            previouslyimposedsentence
         n DENIED. X GRANTEDandthedefendant's                                               in
       judgment
the last       issxted)
                     of     168months        is reducedto               137months
                                         (CompleteParts I and II of Page 2 when motion is grunted)




Exceptasotherwiseprovided,all provisionsof thejudgmentdated
IT IS SO ORDERED.

\_rfucr Lrirrc.      tnllz
                     Iv     lt6
                       lUl@11x1

                                                              DudleyH. Bowen,Jr.
Effective Date: .        November1,2015                       UnitedStat€sDistdctJudse
                    (if differentfron orderdate)                                          Printed name and title
